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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

  In re:                                          §
                                                  §                    Chapter 11
  KrisJenn Ranch, LLC, et al.                     §
                                                  §
                                                  §                    Case No. 20-50805-RBK
                                                  §
  Debtors                                         §                    (Jointly Administered)

                  DEBTOR'S NOTICE OF MASTER SERVICE LIST FILING

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

           COMES NOW KrisJenn Ranch, LLC, et al. ("Debtor") and hereby files this Master Service

  List attached hereto and incorporated by reference as Exhibit “A.”


  Dated: June 15, 2020



                                       Respectfully Submitted,

                                       MULLER SMEBERG, PLLC

                                       By:    /s/ Ronald J. Smeberg                        .
                                              RONALD J. SMEBERG
                                              State Bar No. 24033967
                                              MULLER SMEBERG, PLLC
                                              111 W. Sunset
                                              San Antonio, Texas 78209
                                              210-664-5000 (Tel)
                                              210-598-7357 (Fax)
                                              ron@smeberg.com
                                              ATTORNEY FOR DEBTOR
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                                        CERTIFICATE OF SERVICE

           I hereby certify that on June 15, 2020, true and correct copies of the foregoing will be forwarded
  electronically via the Court’s ECF System, or by U.S. first class mail, postage prepaid, on, all parties listed
  in the attached Exhibit “A”.

                                            /s/ Ronald J. Smeberg

                                            RONALD J. SMEBERG
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
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  In re:                                            §
                                                    §               Chapter 11
  KrisJenn Ranch, LLC, et al.                       §
                                                    §
                                                    §               Case No. 20-50805-RBK
                                                    §
  Debtors                                           §               (Jointly Administered)

                               EXHIBIT “A” - MASTER SERVICE LIST



  DEBTOR                             606 E Lufkin Ave,                Center, TX 75935-3810
                                     Lufkin, Texas 75901
  KrisJenn Ranch, LLC                                                 Albert, Neely & Kuhlmann
  410 Spyglass Rd                    Nacogdoches County Tax           1600 Oil & Gas Building
  McQueeney, TX 78123-3418           Assessor Collector               309 W 7th St
                                     101 West Main Street             Fort Worth, TX 76102-6900
  GOVERNMENT ENTITIES                Nacogdoches, Texas 75961
                                                                      Laura L. Worsham
  Office of the UST                  Rusk County                      JONES, ALLEN & FUQUAY,
  615 E Houston, Room 533            202 N Main St,                   LLP
  PO Box 1539                        Henderson, Texas 75652           8828 Greenville Ave.
  San Antonio, TX 78295-1539                                          Dallas, Texas 75243
                                     Shelby County, Tax Collector
  U.S. Attorney                      200 St. Augustine St.            Craig Crockett
  Attn: Bkcy Division                Center, Texas 75935              CRAIG M. CROCKETT, PC
  601 NW Loop 410, Suite 600                                           5201 Camp Bowie Blvd. #200
  San Antonio, Texas 78216                                            Fort Worth, Texas 76107

  Internal Revenue Services          Tenaha ISD Tax                   Christopher S. Johns
  Special Procedures Branch          Assessor-Collector               JOHNS &COUNSEL PLLC
  300 E. 8th St.                     138 College St                   14101 Highway 290 West,
  STOP 5026 AUS                      Tenaha, TX 75974-5612            ste 400A
  Austin, TX 78701                                                    Austin, Texas 78737
                                     Uvalde Tax Assessor
  Texas Comptroller of               Courthouse Plaza, Box 8          Timothy Cleveland
  Public Account                     Uvalde, Texas 78801              CLEVELAND|TERRAZAS
  Attn: Bankruptcy                                                    PLLC
  P.O. Box 149359                    NOTICE PARTIES                   4611 Bee Cave Road, ste 306B
  Austin, TX 78714-9359                                               Austin, Texas 78746
                                     METTAUER LAW FIRM
  Angelina County                    c/o April Prince                 Andrew R. Seger
  Tax Assessor                       403 Nacogdoches St Ste 1         KEY TERRELL & SEGER
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  4825 50th Street, ste A     755 E Mulberry Ave Ste 500       1490 S Homestead Rd
  Lubbock, Texas 79414        San Antonio, TX 78212-3135       Uvalde, TX 78801-7625

  SECURED CREDITORS           Granstaff Gaedke & Edgmon        Texas Farm Store
                              5535 Fredericksburg Rd Ste 110   236 E Nopal St
  McLeod Oil, LLC             San Antonio, TX 78229-3553       Uvalde, TX 78801-5317
  c/o John W. McLeod, Jr.
  700 N Wildwood Dr           Hopper's Soft Water Service      Uvalco Supply
  Irving, TX 75061-8832       120 W Frio St                    2521 E Main St
                              Uvalde, TX 78801-3602            Uvalde, TX 78801-4940
  UNSECURED CREDITORS
                              Larry Wright                     Longbranch Energy
  Bigfoot Energy Services     410 Spyglass Rd                  c/o DUKE BANISTER
  312 W Sabine St             Mc Queeney, TX 78123-3418        RICHMOND
  Carthage, TX 75633-2519                                      PO Box 175
                              Medina Electric                  Fulshear, TX 77441-0175
  C&W Fuels, Inc.             2308 18th St.
  Po Box 40                   Po Box 370                       DMA Properties, Inc.
  Hondo, TX 78861-0040        Hondo, TX 78861-0370             896 Walnut Street at
                                                               US 123 BYP
  Davis, Cedillo & Mendoza    Medina's Pest Control            Seneca, SC 29678
